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                                          13 Attorneys for Defendants
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                                             AMAZON.COM, INC. and
                                          14 AMAZON SERVICES LLC
                                          15
                                                                    UNITED STATES DISTRICT COURT
                                          16
                                                                   CENTRAL DISTRICT OF CALIFORNIA
                                          17
                                                                  (WESTERN DIVISION – LOS ANGELES)
                                          18
                                          19 ERIC WEBER and BRYAN REES,                 Case No.: 2:17-cv-01941 GW(Ex)
                                             individually and on behalf of all others
                                          20 similarly situated,                        JOINT STATEMENT OF
                                                                                        STIPULATED FACTS RE
                                          21                  Plaintiffs,               MOTION TO COMPEL
                                                                                        ARBITRATION AND DISMISS
                                          22         v.                                 CLAIMS AS TO PLAINTIFF
                                                                                        ERIC WEBER [DKT. 28]
                                          23 AMAZON.COM, INC. and AMAZON
                                             SERVICES LLC,
                                          24
                                                        Defendants.                     Judge:     George H. Wu
                                          25                                            Trial Date:NONE SET
                                          26
                                          27
                                          28    JOINT STATEMENT OF
                                                STIPULATED FACTS RE
                                                MTN TO COMPEL ARB.                          Case No. 2:17-cv-8868 GW(Ex)
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                                            1         Pursuant to the Court’s Tentative Ruling regarding Amazon’s Motion to
                                            2 Compel Arbitration and Dismiss Claims as to Plaintiff Eric Weber, issued on
                                            3 April 2, 2018 (Dkt. No. 35), the parties submit the following statement of stipulated
                                            4 facts regarding Amazon’s historic conditions of use, “Place your order” webpages
                                            5 and flows, and Mr. Weber’s use of the Amazon website.
                                            6         After meeting and conferring, and based upon Amazon’s counsel’s
                                            7 representation that certain identified Amazon personnel possess personal
                                            8 knowledge and have reviewed appropriate business records will testify to the
                                            9 authenticity, accuracy, and applicable dates of the records attached hereto,
                                          10 Plaintiffs’ counsel has agreed to stipulate that the documents and screenshots
                                          11 attached as exhibits to this Stipulation are (i) true and correct copies of Amazon’s
                                          12 Conditions of Use that were posted on Amazon’s public-facing website during the
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                                          13 stated time period, and (ii) accurate representations of the form of the webpages
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                                          14 Mr. Weber visited when completing a purchase on Amazon.com’s standard desktop
                                          15 or standard mobile website on the identified dates.
                                          16                          Amazon’s Historic Conditions of Use
                                          17          (1)   Attached to this Stipulation as Exhibit A is a true and correct
                                          18 representation of Amazon’s Conditions of Use as they appeared on Amazon’s
                                          19 website in March of 2010, at the time that Mr. Weber first placed an order from his
                                          20 merchant account. These Conditions of Use were issued in 2008 and remained
                                          21 unchanged on Amazon’s website until May 14, 2010.
                                          22          (2)   Attached to this Stipulation as Exhibit B is a true and correct copy of
                                          23 Amazon’s Conditions of Use as they appeared on Amazon’s website from May 14,
                                          24 2010, to August 19, 2011. These Terms and Conditions were in place at the time
                                          25 that Mr. Weber first placed an order from his non-merchant account in February of
                                          26 2011.
                                          27
                                          28    JOINT STATEMENT OF
                                                STIPULATED FACTS RE
                                                MTN TO COMPEL ARB.                       1        Case No. 2:17-cv-8868 GW(Ex)
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                                            1        (3)   Attached to this Stipulation as Exhibit C is a true and correct copy of
                                            2 Amazon’s Conditions of Use as they appeared on Amazon’s website from
                                            3 August 19, 2011 until September 6, 2012.
                                            4        (4)   Attached to this Stipulation as Exhibit D is a true and correct copy of
                                            5 Amazon’s Conditions of Use as they appeared on Amazon’s website from
                                            6 September 6, 2012 until October 10, 2012.
                                            7        (5)   Attached to this Stipulation as Exhibit E is a true and correct copy of
                                            8 Amazon’s Conditions of Use as they appeared on Amazon’s website from
                                            9 October 10, 2012 until November 8, 2012.
                                          10         (6)   Attached to this Stipulation as Exhibit F is a true and correct copy of
                                          11 Amazon’s Conditions of Use as they appeared on Amazon’s website from
                                          12 November 8, 2012 until December 5, 2012.
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                                          13         (7)   Attached to this Stipulation as Exhibit G is a true and correct copy of
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                                          14 Amazon’s Conditions of Use as they appeared on Amazon’s website from
                                          15 December 5, 2012 until June 22, 2015.
                                          16         (8)   Attached to this Stipulation as Exhibit H is a true and correct copy of
                                          17 Amazon’s Conditions of Use as they appeared on Amazon’s website from June 22,
                                          18 2015 until February 12, 2016.
                                          19         (9)   Attached to this Stipulation as Exhibit I is a true and correct copy of
                                          20 Amazon’s Conditions of Use as they appeared on Amazon’s website from
                                          21 February 12, 2016 until May 16, 2016.
                                          22         (10) Attached to this Stipulation as Exhibit J is a true and correct copy of
                                          23 Amazon’s Conditions of Use as they appeared on Amazon’s website from May 16,
                                          24 2016 to June 21, 2016.
                                          25         (11) Attached to this Stipulation as Exhibit K is a true and correct copy of
                                          26 Amazon’s Conditions of Use as they appeared on Amazon’s website from June 21,
                                          27 2016 until May 30, 2017;
                                          28    JOINT STATEMENT OF
                                                STIPULATED FACTS RE
                                                MTN TO COMPEL ARB.                      2        Case No. 2:17-cv-8868 GW(Ex)
                                          Case 2:17-cv-08868-GW-E Document 39 Filed 04/20/18 Page 4 of 8 Page ID #:431



                                            1         (12) Attached to this Stipulation as Exhibit L is a true and correct copy of
                                            2 Amazon’s Conditions of Use as they appeared on Amazon’s website from May 30,
                                            3 2017 until October 3, 3017;
                                            4         (13) Attached to this Stipulation as Exhibit M is a true and correct copy of
                                            5 Amazon’s Conditions of Use as they appeared on Amazon’s website from
                                            6 October 3, 2017, through the time of this filing.
                                            7                          Mr. Weber’s Use of Amazon.com
                                            8         (14) Amazon has produced records to Plaintiffs’ counsel demonstrating that
                                            9 each of Mr. Weber’s identified orders for physical goods placed on Amazon.com
                                          10 was placed using Amazon’s standard checkout method. By “standard checkout
                                          11 method,” Amazon means that Mr. Weber went through the standard process of
                                          12 placing an item in his online shopping cart and then completed the online checkout
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                                          13 process. The standard checkout method applies to both the desktop and mobile
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                                          14 versions of the Amazon website, and the Amazon mobile app. The standard
                                          15 checkout process is in contrast to “one-click” ordering, available for some products,
                                          16 through which customers can click on a button and check out directly from the
                                          17 product page. Amazon’s records show that each time Mr. Weber placed an order
                                          18 for a physical item (as opposed to a digital download) using the Amazon desktop or
                                          19 mobile website, he utilized the standard checkout method. Amazon has provided
                                          20 these records to Plaintiffs’ counsel, and Mr. Weber does not dispute that he has
                                          21 used the standard checkout method. Based on the representations provided by
                                          22 Amazon, Mr. Weber has no reason to dispute that he used the standard checkout
                                          23 method for the specific purchases reflected in the records Amazon has provided.
                                          24 The records Amazon provided to Plaintiffs’ counsel are attached to this Stipulation
                                          25 as Exhibit N (using merchant account) and Exhibit O (using non-merchant
                                          26 account).
                                          27
                                          28    JOINT STATEMENT OF
                                                STIPULATED FACTS RE
                                                MTN TO COMPEL ARB.                       3        Case No. 2:17-cv-8868 GW(Ex)
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                                            1         (15) Amazon’s records submitted in support of its Motion show that
                                            2 between his two accounts, Mr. Weber made purchases using the standard checkout
                                            3 method at least 450 times since creating his accounts. See Ex. N, Ex. O. For
                                            4 purposes of this Stipulation, the parties agree that Mr. Weber placed orders using
                                            5 the standard checkout method on February 21, 2017, February 28, 2017, and
                                            6 March 10, 2017 (collectively, “2017 Agreed Purchase Dates”). The parties further
                                            7 agree that Mr. Weber placed orders using the standard checkout method on
                                            8 March 13, 2018, March 14, 2018, and March 18, 2018 (collectively, “2018 Agreed
                                            9 Purchase Dates”). All purchases made on the Agreed Purchase Dates were made
                                          10 using Mr. Weber’s non-merchant account. See Exhibit O.
                                          11          (16) Amazon’s records show that on all of the 2017 Agreed Purchase Dates
                                          12 and 2018 Agreed Purchase Dates, the checkout page for users checking out using
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                                          13 the standard checkout method (which Mr. Weber used on those dates) appeared as
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                                          14 shown in Exhibit P, Exhibit Q, and Exhibit R hereto. Exhibit P is a compilation
                                          15 of two images showing the two possible ways in which the standard checkout page
                                          16 can appear on the Amazon.com desktop site. Exhibit Q is the standard checkout
                                          17 page as it appeared on the Amazon.com mobile website. Exhibit R is the standard
                                          18 checkout page as it appeared on the Amazon mobile app. For the Court’s reference,
                                          19 these exhibits provide complete versions of all screenshots previously submitted as
                                          20 Exhibit 9 to the Declaration of Karen Ressmeyer in support of Defendant’s Motion.
                                          21 Mr. Weber’s recollection is that he usually places orders using the Amazon mobile
                                          22 website (Exhibit Q), but also places some orders using the Amazon desktop website
                                          23 (Exhibit P). See Dkt. 30-1 at ¶ 4. Amazon has not provided Plaintiffs’ counsel
                                          24 records showing which type of device was used to make purchases on the 2017
                                          25 Agreed Purchase Dates and 2018 Agreed Purchase Dates. Amazon contends, and
                                          26 Plaintiff does not dispute, that all purchases are necessarily made through either the
                                          27
                                          28    JOINT STATEMENT OF
                                                STIPULATED FACTS RE
                                                MTN TO COMPEL ARB.                      4        Case No. 2:17-cv-8868 GW(Ex)
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                                            1 Amazon.com desktop website (Exhibit P), mobile website (Exhibit Q), or Amazon
                                            2 mobile app (Exhibit R).
                                            3        (17) Amazon represents and Plaintiffs stipulate that Exhibits P, Q, and R
                                            4 accurately reflect the standard checkout for the Amazon desktop website, mobile
                                            5 website, and mobile app, respectively, on the 2017 Agreed Purchase Dates and
                                            6 2018 Agreed Purchase Dates, as verified by Lis Safion, the Principal Technical
                                            7 Program Manager of Amazon’s checkout team. Ms. Safion reviewed the history of
                                            8 the checkout page and all weblabs that could have impacted the appearance of the
                                            9 page. Based on that review, Ms. Safion could competently testify that Exhibits P,
                                          10 Q, and R accurately reflect how each respective checkout webpage or flow
                                          11 appeared on all of the 2017 Agreed Purchase Dates and 2018 Agreed Purchase
                                          12 Dates. With regards to the desktop site (Exhibit P), Ms. Safion verified that all
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                                          13 customers using the standard checkout method on the desktop website on the
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                                          14 Agreed Purchase Dates would see one of the two versions of the checkout screen
                                          15 included in Exhibit P, depending on what items they order.
                                          16         (18) While the checkout screen Mr. Weber actually saw on the Agreed
                                          17 Purchase Dates would have shown Mr. Weber’s actual product purchases rather
                                          18 than the purchases shown in the sample, and the screen may have also shown
                                          19 special offers relating to his specific purchases, Ms. Safion could competently
                                          20 testify that for each desktop, mobile, and app page layout, the “Place your order”
                                          21 button(s), and any disclosures surrounding the “Place your order” button(s) would
                                          22 have always appeared as shown in Exhibits P, Q, and R.
                                          23         (19) In his opposition to Defendant’s Motion, Mr. Weber attached certain
                                          24 historic versions of Defendant’s desktop checkout webpage, and he noted that the
                                          25 historic versions of the checkout webpage are not the same as the webpages shown
                                          26 in Exhibit P. See Dkt. 30-3 at ¶ 4; Dkt. 30-6. Those historic versions are dated
                                          27 from 2014 and, as noted by the courts in the decisions cited by Plaintiffs, those
                                          28    JOINT STATEMENT OF
                                                STIPULATED FACTS RE
                                                MTN TO COMPEL ARB.                      5        Case No. 2:17-cv-8868 GW(Ex)
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                                            1 screenshots accurately reflected Amazon’s desktop checkout webpage in 2015.
                                            2 Ms. Safion has verified that Amazon modified the desktop checkout webpage prior
                                            3 to the 2017 Agreed Purchase Dates and the 2018 Agreed Purchase Dates, and that
                                            4 Exhibits P, Q, and R accurately reflect the checkout pages as they existed on the
                                            5 Agreed Purchase Dates.
                                            6         (20) Karen Ressmeyer could competently testify that, based on her personal
                                            7 knowledge and review of records kept in the regular course of Amazon’s business,
                                            8 on each of the 2017 Agreed Purchase Dates, if Mr. Weber had clicked on any of the
                                            9 “Conditions of Use” hyperlinks shown in Exhibits P, Q, or R, he would have been
                                          10 taken to the Conditions of Use shown in Exhibit K.
                                          11          (21) Ms. Ressmeyer could also competently testify that, based on her
                                          12 personal knowledge and review of records kept in the regular course of Amazon’s
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                                          13 business, on each of the 2018 Agreed Purchase Dates, if Mr. Weber had clicked on
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                                          14 any of the “Conditions of Use” hyperlinks shown in Exhibits P, Q, or R, he would
                                          15 have been taken to the Conditions of Use shown in Exhibit M.
                                          16                                Amazon Prime Sign-up
                                          17          (22) Amazon is no longer relying on Mr. Weber’s sign up with Amazon
                                          18 Prime as a basis to compel arbitration for purposes of this motion.
                                          19
                                          20 Dated: April 20, 2018       FENWICK & WEST LLP
                                          21
                                          22                                         By: /s/ Jedediah Wakefield
                                                                                         Jedediah Wakefield
                                          23                                             Annasara G. Purcell
                                                                                         Armen Nercessian
                                          24
                                                                                     Attorneys for Defendants
                                          25
                                          26 //
                                          27 //
                                          28    JOINT STATEMENT OF
                                                STIPULATED FACTS RE
                                                MTN TO COMPEL ARB.                      6        Case No. 2:17-cv-8868 GW(Ex)
                                          Case 2:17-cv-08868-GW-E Document 39 Filed 04/20/18 Page 8 of 8 Page ID #:435



                                            1 Dated: April 20, 2018                  SODERSTROM LAW PC
                                            2
                                            3                                        By: /s/ Jamin Soderstrom
                                                                                         Jamin Soderstrom
                                            4
                                                                                     Attorney for Plaintiffs
                                            5
                                            6                                   ATTESTATION
                                            7         Concurrence in the filing of this document has been obtained from the other
                                            8 signatories.
                                            9
                                                Dated: April 20, 2018                FENWICK & WEST LLP
                                          10
                                          11
                                                                                     By: /s/ Jedediah Wakefield
                                          12                                             Jedediah Wakefield
F ENWICK & W EST LLP




                                                                                         Annasara G. Purcell
                                          13
                       ATTORNEYS AT LAW




                                                                                         Armen Nercessian
                                          14                                         Attorneys for Defendants
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                                          28    JOINT STATEMENT OF
                                                STIPULATED FACTS RE
                                                MTN TO COMPEL ARB.                      7        Case No. 2:17-cv-8868 GW(Ex)
